         Case 2:17-cr-00360-JJT Document 285 Filed 02/26/20 Page 1 of 5



 1 John W. McBee, Attorney At Law
     3104 E. Camelback Road
 2 PMB 851
     Phoenix, AZ 85016
 3 Bar No. 018497
     (602) 903-7710 (Phone)
 4 (602) 532-7977 (Fax)
     mcbeelaw@gmail.com
 5
 6
 7                            UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF ARIZONA
 9    United States of America,
10               Plaintiff,                           Case Number: CR 17-00360-PHX-JJT
11          v.
12                                                         Sentencing Memorandum
      Abdul Khabir Wahid,
13
                 Defendant.
14
15
16         Defendant, by and through undersigned Counsel, respectfully requests that this Court
17 impose a sentence of substantially less than 96 months of incarceration followed by a term of
18 supervised release.
19         At the original sentencing conducted on December 17, 2019, the Court found that the
20 Pre-Sentence Report calculations were correct and had also ruled on the Defendant's objections
21 to the document. At this juncture, Counsel finds no reason to disturb those rulings. The
22 hearing was reset when the Court broached the issue regarding the recommended sentence.
23 Specifically, it was concerned that the recommendation, as calculated, was dubious.
24
25                                Sentencing Memorandum
26
27         Count 1 of the indictment, False Statements, is the only charge in which the terrorism
28 enhancement was alleged and, factually, the only crime that involved any type of 'terrorist'
         Case 2:17-cr-00360-JJT Document 285 Filed 02/26/20 Page 2 of 5



 1 related       activity.   The current PSR includes a recommendation for 96 of months of
 2 imprisonment for the False Statements offense (the offense related to terrorism), and 166
 3 months for the Witness Tampering, a charge that was not enhanced with terrorism. The
 4 recommendation further advocates for consecutive sentences, and                    the result is a
 5 unconscionable range of 262 to 327 months of incarceration. As the Court has previously
 6 found, this would not be an illegal sentence; however, this is a severely unjust result.
 7           The legally aggravated offense, Count 1, is capped by statute at 8 years. Thus, it would
 8 seem logical that the more egregious charge should be considered the ceiling for punishment.
 9 It is inequitable that the Witness Tampering charge, sans the terrorism allegation, should
10 command 166 months of imprisonment, 70 additional months of confinement over the False
11 Statement offense. Even worse, if the sentences were administered consecutively, the result
12 could be well over three hundred percent above the statutory maximum of the legally more
13 severe charge.
14           Simply put, this is excessive retribution against Mr. Wahid. There is no legal, factual
15 or moral justification for Count 2 requiring so much more time than Count 1, except to
16 possibly meet the lowermost range of the Guideline calculation. This slavish compliance with
17 the Guideline calculations has been outdated since United States v. Booker, 543 U.S. 220
18 (2005).       In this light, the Defendant would implore the Court to impose civility and
19 reasonableness in the sentence. Certainly, one could argue that a terrorism infused case such
20 as this deserves a sentence completely devoid of any mercy. However, then one would also
21 run into the problem of parity--one of the goals of the Guidelines.
22           In a case such as this, there are not a multitude of local exemplars that the Defense is
23 aware of to follow 1/ . However, there is one of particular interest from 2010. In the District of
24 Arizona, Judge Neil Wake sentenced a Akram Musa Abdallah to 18 months of imprisonment for
25
             1
26             In 2013, Jonathan Paul Jimenez was sentenced to 10 years imprisonment in the Middle District
     of Florida for lying to the FBI and IRS. However, he was training to go oversees to be in a jihad. U.S.
27   Attorney's Office, Man Sentenced to 10 Years in Federal Prison for Lying in Terrorism Investigation and
     False Claim Conspiracy, FBI.Gov, U.S. Department of Justice, April 19, 2013,
28   https://archives.fbi.gov/archives/tampa/press-releases/2013/man-sentenced-to-10-years-in-federal-pri
     son-for-lying-in-terrorism-investigation-and-false-claim-conspiracy.

                                                      2
        Case 2:17-cr-00360-JJT Document 285 Filed 02/26/20 Page 3 of 5



 1 lying to the FBI during a terrorist investigation. See US. Attorney's Office, Man Sentenced to
 2 Prison for Lying During Terrorism Investigation, FBI.Gov, U.S. Department of Justice, March,
 3 4, 2010, https://archives.fbi.gov/archives/phoenix/press-releases/2010/px030410.htm.
 4          Specifically, Abdullah was being questioned as part of an investigation into the Holy
 5 Land Foundation for Relief and Development (HLF). The institution was a Specially Designated
 6 Terrorist Organization, in part, due to its support of Hamas, a foreign terrorist organization.
 7 Abdullah denied being part of HLF in FBI interviews but, in reality, had been involved with
 8 numerous fundraising activities, including facilitating and coordinating fundraising events.
 9 Abdullah did, ultimately, accept a plea agreement. Nonetheless, his involvement with terrorism
10 was in a far greater capacity than Mr. Wahid, and he served only 18 months of incarceration.
11         In 2015, in San Diego, California, Mohammed Saeed Kodaimati accepted a plea
12 agreement to 96 months incarceration for lying to FBI investigators during a terrorism-related
13 investigation. See U.S. Attorney's Office, San Diego Man Pleads Guilty, Admits to Making False
14 Statements in an International Terrorism Investigation, FBI.Gov, U.S. Department of Justice,
15 October 29, 2015, www.fbi.gov.contact-us/fieldoffices/sandiego/news/press-releases/san-diego-
16 man-pleads-guilty-admits-making-false-statements-in-an-international-terrorism-investigation.
17 Kodaimati averred to government agents that he did not know any members of foreign terrorists
18 groups and that he did not fight for them. However, neither was true. He knew an ISIL member
19 and traveled to the Middle East and fought alongside terrorists in Syria. In the end, Kodaimati
20 accepted a plea to 8 years. Although, Mr. Wahid did not resolve his case short of trial, he far less
21 culpable in terms of terrorist activities, and does not deserve a similar (or greater) amount of
22 punishment.
23         In 2019, Fabjan Alameti was convicted in Montana for lying to the FBI regarding his
24 participation in foreign terrorism. See Sherman, David, Alameti Sentenced for Making False
25 Statements Regarding Terrorism, kpax.com, December 16, 2019, https://kpax.com/news/crime-
26 and-courts/alameti-sentenced-for-making-false-statements-regarding-terrorism. Alameti was
27 interviewed by the FBI after he took a bus from New York to Bozeman, Montana. He denied
28 any affiliation with terrorism at that time. However, through social media, the authorities learned

                                                    3
         Case 2:17-cr-00360-JJT Document 285 Filed 02/26/20 Page 4 of 5



 1 that Alameti was regularly communicating with ISIS because he wanted to fight alongside the
 2 group and die a martyr's death. He was also interested in targeting places in the U.S. for terrorist
 3 attacks. He was sentenced to 57 months in prison.
 4         In the case sub judice, the False Statement case began when Elton Simpson provided Mr.
 5 Wahid a key and envelope two days prior to the Garland, Texas, shooting. At that time, Simpson
 6 instructed Mr. Wahid to deliver the envelope to Saabir Nurse on May 6, 2015 (which fell three
 7 days after the shooting). The Defendant apparently followed through on this promise. However,
 8 there is nothing illegal about this transaction, and Mr. Wahid was under no duty to alert the
 9 police at that time. The problem arose when Mr. Wahid lied to investigators about the envelope.
10 Mr. Wahid's false statement to investigators did not contribute to the tragedy in Garland, nor did
11 it exacerbate the damage. There is no loss of life or limb associated with Mr. Wahid's untruthful
12 statement. Certainly, the declarations may have muddied the investigation thereafter, but it is
13 pure conjecture that timely notice would have lead to the conviction of any other individuals or
14 prosecution of additional crimes.
15         Next, compare the Defendant to the rest of the individuals previously discussed. First,
16 Mr. Wahid is not, nor was he ever, part of a terrorist organization. It is important to remember
17 that the FBI fully investigated the Defendant and never found evidence that he was involved in
18 any terrorist activity, except for having some friends who were. Similarly, there was no evidence
19 that he helped plan, support or organize any type of terror enterprise.
20         Second, Mr. Wahid has a negligible criminal history. If not for the mandatory terror
21 enhancement, he would be Category 1. While he has not been entirely law-abiding, he has been
22 a citizen far closer to that status than a hardened criminal. He is a father, whom his children still
23 reside with, and has a severe illness. Like most people, he is many things, but there is no
24 evidence that he advanced a terrorist agenda. He is not a terrorist and never was one.
25         In terms of the False Statements conviction, the eight year sentence is the absolute
26 maximum under the law. Any maximum sentence should only be prescribed in the most extreme
27 circumstances. As has been illustrated by all of the foregoing, this is not the most extreme
28 example of false statements. Similarly, Mr. Wahid advising another individual not to cooperate

                                                     4
        Case 2:17-cr-00360-JJT Document 285 Filed 02/26/20 Page 5 of 5



 1 with authorities after the fact is not the most extreme example of witness tampering. In other
 2 words, this is not a maximum sentence type case.
 3        Pursuant to Booker, supra, the Court has the power to impose a reasonable sentence: one
 4 that matches the culpability of the Defendant when viewed in connection with the concomitant
 5 circumstances. In this case, Mr. Wahid would plead for 36 months of incarceration. There is
 6 precedent for such a sentence in Arizona--the Abdullah case before Judge Wake, discussed
 7 previously. Abdullah was far more involved with promoting terrorism than Mr. Wahid.
 8 However, he did accept a plea. Regardless, the fact that Mr. Wahid exercised his right to trial
 9 should not lead to draconian amounts of confinement. Even if the Court were to double the time
10 imposed upon Abdullah, that would equal a sentence of 36 months.
11
12
13
14
           RESPECTFULLY SUBMITTED this 26th day of February, 2020, BY:
15
16
17                                 John W. McBee, Attorney At Law

18
19                                  s/ John W. McBee
20
                                   Attorney for Defendant

21
22      I hereby certify that on February 26, 2020, I electronically transmitted the attached
   document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a
23 Notice of Electronic Filing to the following CM/ECF registrants:
24
25       The Honorable John J. Tuchi
         District Court Judge
26
27       Kristen Brook
         Assistant United States Attorney
28




                                              5
